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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                   AIKEN DIVISION

The United States of America,                                  )
ex rel. Tanja Adams; Kianna Curtis; Mindy Roberts;             )
Ashley Segars; and Tamara Williford,                           )
                                                               )      CA No.: 1:17-01493-JMC
                         Plaintiffs,                           )
                                                               )
               v.                                              )
                                                               )
Remain at Home Senior Care, LLC; Nuclear Workers               )
Institute of America; Brian Carrigan; Tim Collins;             )
Dawn Blackwell; Dr. Francis Jenkins, II, FHJ, LLC;             )
Dr. Peter Franks; and A.J. Franks,                             )
                                                               )
                         Defendants.                           )

                                                Order

       The United States having declined to intervene in this action pursuant to the False Claims

Act, 31 U.S.C. ' 3730(b)(4)(B), the Court orders as follows:

       IT IS ORDERED that,

       1.    The Complaint be unsealed and served upon the defendants by the relator;

       2.    The relator serve this Order and the Government's Notice of Election to Decline

Intervention, after service of the Complaint;

       3.    The seal be lifted as to all other matters occurring in this action, with the exception of

the Government’s Motions to Extend the Seal Period (Dkt. Nos. 6, 10, and 13);

       4.    The parties shall serve all pleadings and motions filed in this action, including

supporting memoranda, upon the United States, as provided for in 31 U.S.C. ' 3730(c)(3). The

United States may order any deposition transcripts and is entitled to intervene in this action, for good

cause, at any time;
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       5.   The parties shall serve all notices of appeal upon the United States;

       6.   All orders of this Court shall be sent to the United States; and that

       7.   Should the relator or the defendants propose that this action be dismissed, settled, or

otherwise discontinued, either the relator or the defendants will solicit the written consent of the

United States before presenting the matter to this Court for its ruling or granting its approval.

       IT IS SO ORDERED.


                                              ____________________________
                                              J. Michelle Childs
                                              United States District Judge

        23 2019
August ____,

 Columbia
________________, South Carolina




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